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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------------------x
   ROSIE MARTINEZ
                                       Plaintiff,                        MEMORANDUM AND ORDER
                                                                         16-CV-79 (NRM) (CLP)
                             -against-

   CITY OF NEW YORK, Police Officer ERIC RYAN,
   Lieutenant DAVID CAMHI, Sergeant JOSEPH
   DIGENNARO, and Sergeant KEITH LALIBERTE,

                                       Defendant.
   ------------------------------------------------------------------x

   NINA R. MORRISON, United States District Judge:

           Now pending before this Court are approximately twenty-six (26) motions in limine filed

   by the parties in advance of trial. In this action, filed under 42 U.S.C. § 1983 and related

   provisions of New York state law, Plaintiff Rosie Martinez alleges that Defendants used

   excessive force leading to serious physical injuries while she was handcuffed in police custody in

   January 2015, and that Defendants further failed to intervene to stop the violations of her civil

   rights or to provide her with constitutionally adequate medical care for her injuries. This Court

   held oral argument on the parties’ motions in limine on November 7, 2022. At that time, the

   Court also requested that the parties file supplemental letter(s) providing additional factual

   information relevant to the motions.




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                I.     Procedural History and Summary of Factual Issues to be Tried 1

          Rosie Martinez was arrested on January 22, 2015 at her apartment and detained that night

   at the 107th Precinct in Queens, New York. Ms. Martinez, who worked as a house cleaner, was

   taken into custody by police after returning home from work that evening; earlier in the day,

   police carried out a raid on her apartment in search of illegal drugs. Martinez v. City of New

   York, 564 F. Supp. 3d 88, 93 (E.D.N.Y. 2021). During the raid, police arrested Ms. Martinez’s

   boyfriend, Danny Rivera, from whom they seized approximately 285 glassine envelopes of

   heroin. ECF No. 185, at 3; ECF No. 190, Attachment 1, at 4. Ms. Martinez contends that Mr.

   Rivera was dealing drugs from her apartment without her knowledge. And in the wake of her

   arrest and detention on January 22, 2015, Ms. Martinez was not charged with, nor convicted of,

   any crime.

          The events that took place during the roughly five hours of Ms. Martinez’s detention that

   evening form the basis of this § 1983 action. It is undisputed that Ms. Martinez arrived at the

   107th Precinct uninjured, and that she sustained injuries to her wrist at approximately 12:30 a.m.

   Martinez, 564 F. Supp. 3d at 94. No officer provided her with medical care at the precinct. Id.

   When she was taken to Central Booking approximately five hours after her arrest, her right wrist

   was so swollen that officers could not fit a single handcuff around it. Id. It was at Central




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             For additional details on the parties’ factual allegations and the procedural history of
   this case, see Martinez v. City of New York, 16-cv-79, 2018 WL 604019 (E.D.N.Y. Jan. 24,
   2018) (Chief Magistrate Judge Pollak’s Report and Recommendation to Judge Ann M.
   Donnelly); Martinez v. City of New York, 16-cv-79, 2018 WL 1835935 (E.D.N.Y. Apr. 18, 2018)
   (Judge Donnelly’s Order partially adopting Chief Magistrate Judge Pollak’s Report and
   Recommendation); Martinez v. City of New York, 564 F. Supp. 3d 88 (E.D.N.Y. 2021) (Judge
   Kovner’s Order partially granting and partially denying Defendants’ motion for summary
   judgment).
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   Booking that medical screeners immediately redirected Ms. Martinez and the two officers

   escorting her to the emergency room. Id.

          How Ms. Martinez sustained her injuries, and the various interactions she had with the

   individual Defendant officers while in custody, are the key factual disputes the jury will be asked

   to resolve at trial. Ms. Martinez alleges that, while she was handcuffed at the station, two

   members of the New York City Police Department (NYPD) assaulted her in retaliation for her

   failure to provide them with incriminating information about her boyfriend Danny Rivera or the

   supplier(s) of the drugs they seized from her apartment. Id. Ms. Martinez alleges that while she

   was in handcuffs, and after informing the officers that she had no information about Mr. Rivera’s

   illegal conduct, these officers choked her, smacked her, pulled her hair, and bent back her right

   thumb until she cried out in pain, while calling her a “fucking bitch” and telling her, “This is for

   not talking, bitch.” ECF No. 99, at 6-7. Ms. Martinez further alleges that despite informing the

   officers that she was in severe pain over the next several hours and despite visible swelling on

   her injured hand, the four individual officers named in this action—Officer Eric Ryan,

   Lieutenant David Camhi, Sergeant Joseph DiGennaro, and Sergeant Keith Laliberte—failed to

   intervene or provide her with necessary medical treatment.

          Defendants offer a starkly different account of the events that took place during Ms.

   Martinez’s detention. Defendants do not deny that each of them was present at the 107th

   Precinct during while Ms. Martinez was handcuffed. It is also undisputed that three of the

   defendant officers (Sargeant DiGennaro, Lieutenant Camhi, and Officer Ryan) interacted with or

   “restrained” her that night; and the fourth (Laliberte) was the desk officer stationed directly

   outside the room where she was held. Martinez, 564 F. Supp. 3d at 94, 107. Defendants do not

   allege that Ms. Martinez’s assailants are officers that Ms. Martinez has failed to name in this



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   action. Rather, Defendants contend that Ms. Martinez’s assault never took place at all. They

   claim that Ms. Martinez inflicted her injuries on herself when she began punching a wall during

   her detention, and that some of Defendants responded by restraining Ms. Martinez and checking

   on her periodically throughout the night.

          At trial, therefore, the jury’s primary inquiry will be to determine which party offers the

   more credible explanation for the source of Ms. Martinez’s injuries, and which account(s) of the

   Defendants’ response (or lack thereof) the jury credits.

          Ms. Martinez brings four claims against Defendants: claims of excessive force, failure to

   intervene, and deliberate indifference against the individual defendants, and a state law claim of

   assault and battery against the City of New York (“City”) through the doctrine of respondeat

   superior. District Judge Rachel Kovner, before whom the parties litigated their summary

   judgment motions before the case was transferred to this Court, granted Defendants’ motion for

   summary judgment in part and dismissed Ms. Martinez’s other claims, including a claim that

   police unlawfully searched her vehicle, and a claim that Defendants “covered-up” Ms.

   Martinez’s assault and denied Ms. Martinez access to the courts. Id. at 100-101.

          This action also reaches trial after an unusual history of what other judges of this Court

   have found were a series of “egregious” and “willful” discovery violations by the City of New

   York. Martinez v. City of New York, 16-cv-79, 2018 WL 604019, at *32 (E.D.N.Y. Jan. 24,

   2018). Over nearly two years, the City violated fourteen discovery orders issued by Chief

   Magistrate Judge Pollak and failed to disclose to Ms. Martinez even basic information about who

   her alleged assailants might be—despite the fact that the identities of the individual officers who

   were present in the station and interacted with Ms. Martinez on the night of her detention had

   been memorialized in a series of contemporaneously prepared (but long-undisclosed) documents



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   in the NYPD’s possession. Instead, after discovery was closed and just as the statute of

   limitations was set to expire, the City revealed to Ms. Martinez that it had in fact conducted

   multiple investigations about the events surrounding Ms. Martinez’s arrest and detention,

   culminating in the belated disclosure of a series of official reports containing information that

   was vital to Ms. Martinez’s claims.

          Chief Magistrate Judge Pollak, in a 79-page decision excoriating counsel for the City for

   these and other violations, noted that “the length of time and the amount of expense incurred by

   plaintiff’s counsel in essence ‘chasing their tail’ in an effort to obtain discovery is without

   compare in this Court’s experience.” Id. at *33. Judge Pollak went on to recommend to then-

   presiding District Judge Ann Donnelly that, under the circumstances, the Court impose the

   extreme sanction of granting summary judgment against Defendants on the issue of liability—in

   part to redress the harm caused to Plaintiff, and in part to deter the City and any individuals it

   represents from engaging in such misconduct in future cases. Id. at *71. The City, facing the

   prospect of imposition of judgment, initially opposed any sanctions, but ultimately agreed to

   waive any statute of limitations defense with respect to individual officers that Ms. Martinez may

   name in her amended complaint. ECF No. 95.

          Judge Donnelly praised Judge Pollak’s “thorough and compelling” review of the factual

   record and agreed that the City’s conduct indicated an “utter disregard” for the court’s discovery

   orders, finding any claim that the City did not violate its discovery obligations “decisively

   refuted by the record.” Martinez v. City of New York, 16-cv-79, 2018 WL 1835935, at *1-2

   (E.D.N.Y. Apr. 18, 2018). Ultimately, however, Judge Donnelly declined to enter judgment

   against the City as Judge Pollak recommended. Id. at *6. Instead, the Court ordered the City to

   pay the legal fees and costs that Ms. Martinez accrued over the course of extended discovery.



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   Importantly, the Court also noted that it would “consider additional appropriate sanctions and

   curative measures at trial.” Id. at *8.

                                  II.        The Parties’ Motions in Limine

          Currently before the Court are approximately twenty-six motions in limine filed by the

   parties. As a preliminary matter, the Court notes that several of the parties’ most vigorously

   disputed motions involve facts and procedural matters that implicate, to varying degrees, the

   unusual and “egregious” history of the City’s discovery violations, which complicates the

   Court’s analysis in several respects. On the one hand, the Court is troubled by the due process

   implications of requiring the individual defendants in this action—who were not named parties at

   the time of the City’s misconduct—to bear the consequences of the City’s willful violations of

   the Court’s discovery orders. On the other hand, the Court is equally troubled by the prospect of

   allowing the City to profit from its misconduct by introducing or precluding certain evidence at

   trial which may have been tainted by, or the product of, its own misconduct—particularly

   without giving Ms. Martinez the opportunity to contextualize that evidence with information

   about this case’s history and any prejudice she may have faced from the City’s willful delays in

   producing relevant evidence to her.

          Both parties, however, agree that a “mini-trial” that devolves into a discussion of this

   case’s complicated procedural history and prior judicial sanctions that bear little on the facts in

   dispute would waste time and confuse the jury. Thus, while the City’s discovery violations and

   the balance of equities arising from that history are at times a factor in this Court’s analysis, they

   are not dispositive of any one motion; and as to each, this Court would have reached the same

   results even without taking that history into account.




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      1. Defendants’ Motion to Preclude Cross-Examination of Sergeant Laliberte’s Prior
         Misconduct

          Defendants seek to preclude Ms. Martinez from cross-examining Sergeant Laliberte

   about a 2014 incident in which he allegedly lied to investigators when he denied punching a

   handcuffed detainee and admitted his conduct only after investigators presented him with a

   surveillance video that had recorded his assault. Defendants argue that cross-examination into

   the incident is improper propensity evidence, since excessive force is the very claim that Ms.

   Martinez has asserted against Sergeant Laliberte in this action. Ms. Martinez counters that

   Sergeant Laliberte’s untruthful statements to investigators bear on his credibility. For the

   reasons outlined below, Defendants’ motion is DENIED.

          A party may not introduce evidence of an adversary’s past “crime, wrong, or act . . . in

   order to show that on a particular occasion the person acted in accordance with” a particular

   character trait. See Fed. R. Evid. 404(b)(1). On cross-examination, however, a party may

   impeach a witness by inquiring into her prior “bad acts” that bear on the witness’s character for

   truthfulness so long as the proffering party has a good-faith belief that untruthful act actually

   occurred. See Fed. R. Evid. 608(b); Hynes v. Coughlin, 79 F.3d 285, 294 (2d Cir. 1996). A

   court may preclude cross-examination into a prior bad act if its probative value on the witness’s

   credibility is substantially outweighed by a risk of unfair prejudice to the adverse party. Fed. R.

   Evid. 403. The more similar the untruthful act is to the underlying dispute at trial, the greater the

   likelihood is that a jury will inappropriately treat the prior bad act as propensity evidence. Cf.

   Stephen v. Hanley, 03-cv-6226, 2009 WL 1471180, at *5 (E.D.N.Y. May 21, 2009) (describing,

   in the context of Rule 609, the risk of unfair prejudice when the offered impeachment evidence is

   similar to conduct at issue in the case).




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          The Court agrees with Defendants that cross-examining Sergeant Laliberte about whether

   he assaulted a handcuffed detainee would, on its own, be impermissible propensity evidence

   barred by Rule 404(b). However, because Sergeant Laliberte’s subsequent misleading

   statements to investigators about the incident unquestionably bear on Sergeant Laliberte’s

   character for truthfulness, inquiry into those statements is permissible impeachment evidence

   under Rule 608(b).

          On November 24, 2013, Sergeant Laliberte punched a handcuffed detainee while

   effectuating an arrest at a house party. A nearby security camera captured footage of this assault,

   a fact which was apparently unknown to Sergeant Laliberte when investigators from the NYPD

   Internal Affairs Bureau (IAB) questioned him about the incident. The IAB summarized its

   interview with Sergeant Laliberte as follows:

          When asked if he observed any MOS use their batons or punch any of the party goers,
          [Sgt. Laliberte] stated no. . . . When asked if any of the arrestees had any injuries or made
          any complaints against any MOS, he stated no. After viewing the video footage that
          showed him punching [the arrestee] in the face, Sgt. Laliberte stated that punching [the
          arrestee] was a bad decision, he made a mistake and is embarrassed by his actions.

   ECF No. 190, Exhibit 32, at 3.

          On this record, the Court concludes that Ms. Martinez clearly has a good faith basis to

   believe that Sergeant Laliberte made untruthful statements to investigators: Sergeant Laliberte

   first stated that he did not “observe” anyone punch the detainee, and only after the investigators

   confronted Sergeant Laliberte with video footage of the assault did he change his story and

   apologize for his actions. Defendants’ argument that Rule 608(b) is inapplicable because

   Sergeant Laliberte was never reprimanded or charged for his allegedly untruthful statement is

   misplaced, since an official finding that the witness acted untruthfully is not required for Rule

   608 to apply. See, e.g., United States v. Bravo, 808 F. Supp. 311, 321-22 (S.D.N.Y.1992) (“Rule



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   608 of the Federal Rules of Evidence allows impeachment of witnesses by evidence of specific

   instances of dishonesty regardless of whether there has been an official finding to that effect.”).

          The Court is also unpersuaded by Defendants’ argument that Sergeant Laliberte’s

   statement was not technically untruthful because investigators asked him whether he “observed”

   anyone punch the arrestee on the night in question, not whether Sergeant Laliberte punched the

   arrestee himself. Both case law and common sense support the conclusion that someone can be

   untruthful not only through false assertions but through material omissions in circumstances that

   require disclosure. Cf. United States v. Strother, 49 F.3d 869, 874 (2d Cir. 1995) (concluding in

   the context of Rule 613 of the Federal Rules of Evidence that “[u]nder certain circumstances, a

   witness’s prior silence regarding critical facts may constitute a prior inconsistent statement”).

          The remaining question, then, is whether the probative value of this inquiry would be

   substantially outweighed by a risk of unfair prejudice. The Court concludes that it would not be.

   Sergeant Laliberte’s conduct towards a handcuffed detainee is no doubt factually similar to Ms.

   Martinez’s allegations against Sergeant Laliberte, and the Court recognizes the risk that the jury

   may draw an unfair propensity inference against Sergeant Laliberte from this evidence.

   However, this risk does not substantially outweigh the evidence’s probative value. Sergeant

   Laliberte made his misleading statements about the incident during an official investigation—the

   exact context in which one would expect an officer of the law to be fully truthful. The fact that

   Sergeant Laliberte immediately admitted and apologized for his conduct when confronted with

   the video of his previously-undisclosed assault is further indication that he was well aware that

   his initial responses to the investigator’s questions were, at best, grossly misleading. The Court

   therefore concludes that cross-examination of Sergeant Laliberte on his statements is highly

   probative of his credibility, outweighing any risk of unfair prejudice.



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          Defendants’ motion to preclude Mr. Martinez from conducting this line of questioning is

   therefore DENIED IN PART. Ms. Martinez may not introduce extrinsic evidence of Sergeant

   Laliberte’s assault, including the video. See Fed. R. Evid. 608(b). However, Ms. Martinez may,

   on cross-examination, inquire into Sergeant Laliberte’s assault of the handcuffed arrestee to the

   extent necessary to contextualize for the jury his misleading statements to investigators,

   including through questions that reference (1) the video of Laliberte’s assault on the handcuffed

   detainee, and (2) the fact that he initially did not disclose his actions when questioned about the

   events of that evening, but only admitted his conduct after IAB investigators confronted him

   with the surveillance video. Cf. Rosales v. Kelly, 07-cv-10554, 2011 WL 5873374, at *1-2

   (S.D.N.Y. Nov. 14, 2011) (concluding that, under Rule 608(b), plaintiff could cross-examine an

   officer witness about an incident in which the witness used force on an inmate and then falsely

   told investigators that the inmate tripped, despite video evidence to the contrary).

      2. Plaintiff’s Motion to Preclude Evidence That She Misidentified Her Assailants In
         Headshot Photographs After Her Alleged Assault

          Ms. Martinez seeks to preclude Defendants from cross-examining her about a series of

   instances nearly two years after her alleged assault in which she and her lawyer(s) examined

   approximately thirty-six photographs of officers over time, who may or may not have been

   present in the precinct during her detention (which initially included two, but not all four, of the

   current named Defendants). Defendants further wish to elicit from Ms. Martinez testimony that

   after viewing the photographs, she initially identified as her assailants two officers who are no

   longer parties to this action, while failing to positively identify the two current individual

   defendants whose photographs were provided to her counsel.

          Defendants assert that this evidence bears not only on Ms. Martinez’s credibility but also

   on her substantive claims, since her misidentification/failure to identify, they argue, supports the

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   inference that no assault took place at all. Ms. Martinez counters not only that the evidence is

   irrelevant to the issues to be tried, but that fairness would require Ms. Martinez to contextualize

   the evidence, if it is admitted, by informing the jury about the City’s discovery misconduct,

   including the complicated and indisputably tainted circumstances under which her counsel was

   provided these photographs while the City’s willful discovery violations were ongoing. For the

   reasons outlined below, Plaintiff’s motion to preclude is GRANTED.

             Evidence is relevant if it has “any tendency to make a fact more or less probable than it

   would be without the evidence” and “the fact is of consequence in determining the action.” Fed.

   R. Evid. 401. Evidence that bears on a witness’s credibility is “always relevant,” see United

   States v. Quinto, 582 F.2d 224, 233 (2d Cir. 1978) (citation omitted), and a party may impeach a

   testifying witness’s credibility by introducing evidence of the witness’s prior inconsistent

   statement, see Fed. R. Evid. 613(b), or evidence that suggests a lack of sensory capacity.

   However, most impeachment evidence and substantive evidence may be precluded if its

   probative value is substantially outweighed by the risk of unfair prejudice to the adverse party,

   wasting time, or confusing the jury. See Fed. R. Evid. 403; Fed. R. Evid. 608 advisory

   committee’s note to 2003 amendment (“[T]he admissibility of extrinsic evidence offered for . . .

   contradiction, prior inconsistent statement, bias and mental capacity [is left] to Rules 402 and

   403.”).

             The Court concludes that, on the factual record that the parties have presented, the

   probative value of the proffered evidence is extremely small relative to the risk that its

   introduction would (1) result in unfair prejudice, and (2) confuse the jury and waste time. First,

   its relevance to any material fact in dispute in this action is, at best, tangential. Ms. Martinez

   alleges that two officers brutally assaulted her at the 107th Precinct on the night of her detention.



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   Defendants argue that Ms. Martinez inflicted her injuries on herself. No party, however, has

   contended that Ms. Martinez was assaulted but failed to name her true assailants as defendants in

   this case. Indeed, at no time during either of Plaintiff’s two depositions did Defendants ask Ms.

   Martinez any questions about these identification procedures, including which photographs she

   viewed, whether she positively identified any officers from their photographs, and how confident

   she was in her identifications at the time. 2 While the City was of course free to use its allotted

   deposition time as it chose, the fact that it did not ask Ms. Martinez any questions about her

   examination of these photographs underscores what the Court views as its marginal (at best)

   relevance to her credibility and the facts in dispute at trial.

           The Court is equally unpersuaded by Defendants’ argument that this evidence tends to

   support the inference that Ms. Martinez’s allegations of assault are fabricated altogether. Nearly

   two years elapsed between the night of Ms. Martinez’s detention (January 22, 2015) and the

   filing of her amended complaint in which she incorrectly named two officers as defendants on

   her excessive force claim, shortly after reviewing various photographs with her attorney

   (November 17, 2016). The United States Supreme Court and numerous state high courts have

   favorably cited considerable scientific research demonstrating that a witness’s ability to

   accurately identify an assailant or suspect becomes increasingly unreliable with the passage of

   time. See, e.g., Perry v. New Hampshire, 565 U.S. 228, 243 (2012) (concluding that the

   “passage of time between exposure to and identification of” one’s assailant contributes to the



           2
             Defendants argue that they did not depose Ms. Martinez about her examination of the
   officers’ photographs because the areas of inquiry in Ms. Martinez’s second deposition (taken
   with leave of the Court after the discovery violations came to light and her complaint was again
   amended) were strictly limited and the subject of extensive negotiations. This does not,
   however, explain why—if this issue is as central to Ms. Martinez’s credibility as Defendants now
   claim—Defendants never sought leave to include any such questions among the topics they were
   permitted to cover.
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   “likelihood of misidentification”); State v. Lawson, 291 P.3d 673, 688 (Or. 2012) (“Memory

   generally decays over time. Decay rates are exponential rather than linear, with the greatest

   proportion of memory loss occurring shortly after an initial observation, then leveling off over

   time.”); State v. Henderson, 27 A.3d 872, 907 (N.J. 2013) (“Memories fade with time. . . . As a

   result, delays between the commission of a crime and the time an identification is made can

   affect reliability."); State v. Kaneaiakala, 450 P.3d 761, 773 (Haw. 2019) (noting that “[t]he

   period of time between the alleged criminal act and the witness’s identification” was relevant to

   the identification’s reliability); Com. v. Walker, 92 A.3d 766, 780 (Pa. 2014) (noting that the

   potential unreliability of a witness identification is “beyond [the knowledge] possessed by a

   layperson”). 3 A civil plaintiff’s failure to identify her assailant from a selection of

   approximately three dozen photographs nearly two years after an alleged assault, therefore, has

   highly limited probative value as to the identities of those who were present—and essentially no

   probative value on the question of whether the assault itself took place.

           Even assuming that this evidence is relevant—either as substantive evidence or

   impeachment evidence to the extent that it is inconsistent with Ms. Martinez’s current allegations

   and bears on a lack of sensory capacity—the Court concludes that, due to this case’s unusual

   procedural and factual history, this evidence’s probative value is substantially outweighed by the

   risks of unfair prejudice, jury confusion, and wasting time on collateral matters.

           If the Court permits the City to introduce evidence of regarding Ms. Martinez’s

   examination of the officers’ photographs, it must also permit Ms. Martinez to introduce evidence

   of the City’s misconduct to rehabilitate her credibility. Not only would the introduction of this



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            For a more fulsome analysis of the role that the passage of time plays in the decay of a
   witness’s memory of a perpetrator’s identity, see Third Circuit Task Force, 2019 Report of the
   Third Circuit Task Force on Eyewitness Identifications, 92 TEMP. L. REV. 1 (2019).
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   rebuttal evidence, which is voluminous, be time-consuming, but it would risk confusing the

   jurors by inviting them to consider a “mini-trial” on the question of discovery sanctions that have

   nothing to do with the factual disputes the jury will be tasked with resolving at trial. Over the

   course of this action, the City repeatedly failed to comply with at least fourteen of the Court’s

   discovery orders. See Martinez, 2018 WL 604019, at *1-14. Ms. Martinez only attempted to

   identify her alleged assailants by their photographs at all because the City had, for nearly two

   years, willfully failed to comply with the Court’s orders to provide Ms. Martinez with a list of

   the officers with whom she interacted during her detention. Id. at 5 (“Since defendants still had

   not identified the officers who interrogated plaintiff, the Court ordered the production of

   photographs in an effort to determine the identity of the officers.”); id. at 9 (“Although plaintiff’s

   counsel believed that they had finally identified the two officers most likely to have been

   involved in the assault on the plaintiff, as discovery proceeded, it became apparent that, despite

   all of their efforts, they had not been given the full story.”).

           By Defendants’ own admission in a supplemental letter that they filed with this Court

   after oral argument on the instant motions, the initial photo array that counsel for the City sent to

   Ms. Martinez for purposes of determining the identity of her alleged assailants did not even

   include two of the four Defendants who are now named in this action—and whose personal

   interaction with Ms. Martinez on the night of her detention the City could have easily deduced

   from NYPD records.

           The foregoing facts are only a sample of the evidence that the Court would be required to

   permit Ms. Martinez to introduce to contextualize why, nearly two years after her detention, she

   did not identify her alleged assailants from their photographs. A mini-trial on the question of

   discovery sanctions would be appropriately avoided by simply precluding this evidence.



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          Second, because of the manner in which the alleged misidentifications occurred here

   (while Ms. Martinez viewed one or more photo arrays in her lawyers’ offices, with the outcome

   of these examinations conveyed through written statements made by Ms. Martinez’s counsel in

   the course of “chasing their tail” to identify the proper defendants in the face of the City’s

   discovery violations), cross-examining Ms. Martinez about these events may raise issues of

   attorney-client privilege. Defendants contend that Ms. Martinez has, by now, likely waived any

   claim to attorney-client privilege with respect to these communications because letters

   exchanged between the parties referenced the identification procedures counsel had conducted

   with Plaintiff. But any assessment of whether and to what extent Plaintiff waived the privilege

   arising from her earlier communications with counsel will be a highly fact-specific inquiry that

   will depend on the specific questions asked of her at trial, with a parallel examination by this

   Court of the underlying pretrial record. The prospect of a series of complicated and time-

   consuming sidebars on the question of attorney-client privilege and the scope of any alleged

   waiver under Rule 502(a) of the Federal Rules of Evidence—during cross-examination about a

   matter which the Court has already determined is of, at best, tangential relevance to the issues

   before the jury—also supports the Court’s conclusion that it should exercise its discretion to

   preclude this evidence altogether under Rule 403. 4




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            The Court also notes that this evidence might be appropriately precluded as a reasonable
   sanction in light of the City’s discovery violations, since Plaintiff has a compelling argument that
   Ms. Martinez’s earlier photo (mis)identification only exists because of the City’s discovery
   misconduct. Although Judge Donnelly declined to adopt Magistrate Judge Pollak’s
   recommendation to enter a default judgment against the City for its violations, she did expressly
   reserve the right to impose additional sanctions and curative measures at trial. This Court need
   not do so here because of its other findings, supra, under the traditional Rule 403 analysis.
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      3. Defendants’ Motion to Bar Plaintiff From Informing the Jury of the City of New
         York’s Status as a Defendant and From Introducing Evidence of the City’s Practice
         of Indemnifying Officers

          Defendants move to preclude Ms. Martinez from informing the jury that the City is a

   party to this action and from introducing evidence of the City’s practice of indemnifying its

   officers. Defendants’ motion is GRANTED IN PART and DENIED IN PART.

          First, the City remains a party to this action under the doctrine of respondeat superior for

   Ms. Martinez’s state law claims of assault and battery. As such, the Court will not change the

   caption of this case or otherwise structure the trial to prevent the jury from learning this fact. See

   Rosario v. City of New York, 18-cv-4023, 2021 WL 9455782, at *1 (S.D.N.Y. Nov. 22, 2021)

   (denying a similar motion from the City when the City was only a named defendant under

   respondeat superior). However, to prevent the jury from assigning undue weight to the City’s

   status as a defendant, although Plaintiff’s counsel may mention the City’s inclusion as a named

   defendant in opening and closing argument, they shall not refer to defense counsel as “City

   attorneys” or otherwise unduly emphasize the City’s role in this action. Cf. Jean-Laurent v.

   Hennessy, 840 F. Supp. 2d 529, 550 (E.D.N.Y. 2011) (finding, in an action in which the City was

   not a named defendant, that referring to defendants’ counsel as “City attorneys” could be

   unfairly prejudicial).

          Second, because evidence of the City’s practice of indemnifying its officers is not

   relevant to any fact in dispute in this case, it is inadmissible. See Ross v. Guy, 18-cv-1340, 2022

   WL 768196, at *6 (E.D.N.Y. Mar. 14, 2022). Ms. Martinez has stated that she has no intention

   of introducing such evidence unless any individual defendant officer “opens the door” by

   testifying to his personal inability to pay a damages award, and Defendants have stated that they




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   have no intention of offering such testimony. Defendants’ motion is therefore granted as

   unopposed, assuming no individual officer so testifies.

      4. Plaintiff’s Motion to Include an Adverse Inference Instruction in the Jury Charge

          Ms. Martinez moves the Court to include an adverse inference instruction in its jury

   charge with respect to two pieces of evidence—a prisoner pedigree form and a pen roster—that

   the City has failed to produce. For the reasons outlined below, Ms. Martinez’s motion is

   DENIED WITHOUT PREJUDICE.

          A party seeking discovery sanctions on the basis of spoliation of evidence must show by

   a preponderance of the evidence “(1) that the party having control over the evidence had an

   obligation to preserve it at the time it was destroyed; (2) that the records were destroyed with a

   culpable state of mind; and (3) that the destroyed evidence was relevant to the party’s claim or

   defense such that a reasonable trier of fact could find that it would support that claim or

   defense.” Klipsch Grp., Inc. v. ePRO E-Commerce Ltd., 880 F.3d 620, 628 (2d Cir. 2018)

   (citation omitted). “A party has a culpable state of mind when it destroyed evidence knowingly

   or negligently,” meaning that the party has, at least, “fail[ed] to conform to the standard of what

   [it] must do to meet its obligation to participate meaningfully and fairly in the discovery phase of

   a judicial proceeding.” Lekomtsev v. City of New York, 16-cv-4530, 2020 WL 5878258, at *3

   (E.D.N.Y. Oct. 2, 2020). To the extent that only one defendant is responsible for spoliation of

   evidence in a multi-defendant case, a court may charge the jury with an adverse inference with

   respect to only that defendant. See id. at *2 (determining that since the City, but not the

   individual defendants, engaged in spoliation, the court would instruct the jury that it could infer

   that the missing evidence would have been favorable to plaintiff’s claims against the City).




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          On the current record, Ms. Martinez fails to demonstrate by a preponderance of the

   evidence that the third Klipsch factor is satisfied. The Court agrees with Ms. Martinez that the

   City’s duty to preserve both the prison pen roster and prisoner pedigree form attached as soon as

   the City was on notice that it might be subject to a claim—which, according to Defendants’ own

   timeline of Captain Hanrahan’s command-level investigation of Ms. Martinez’s injuries, was

   likely within twenty-four hours of Ms. Martinez’s initial detention. Consequently, the Court also

   concludes that the City was, at the very least, negligent in its failure to preserve these documents.

   Cf. Lekomtsev, 2020 WL 5878258, at *3 (“[O]nce the duty to preserve attaches, any destruction

   is, at a minimum, negligent.”).

          However, the Court is not persuaded, based on the current factual record, that a

   reasonable juror could find that the missing pen roster and prisoner pedigree form would have

   supported Ms. Martinez’s claims. Ms. Martinez makes a fair point that, as with any instance of

   spoliation, the party seeking the adverse inference is, by definition, unable to utilize the missing

   documents to establish exactly why they would have supported her claims. The Court is also

   troubled that the City somehow preserved the pen roster form of Danny Rivera, who was arrested

   at the same time as Ms. Martinez, but lost the corresponding forms relating to Ms. Martinez—

   particularly given that NYPD officials knew that same night that Ms. Martinez, not Mr. Rivera,

   was the arrestee who sustained physical injuries while in custody.

          Nonetheless, on this record, the Court cannot rule out the equally likely possibility that

   these missing documents, prepared by one or more of the individual defendants, would have

   instead supported Defendants’ version of events—that is, that the documents would have

   memorialized the officers’ claims (whether factually true or not) that Ms. Martinez inflicted




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   harm on herself by punching a wall, and that the officers frequently checked in on Ms. Martinez

   throughout the night.

           Ms. Martinez may still satisfy her burden on the third Klipsch prong through the

   introduction of additional evidence at trial. For instance, Ms. Martinez remains free to cross-

   examine Defendants about the information that the prisoner pedigree form and pen roster

   contained, who prepared those documents, and what Defendants recall about their contents. Ms.

   Martinez will also likely seek testimony from her expert witness regarding standard police

   documentation procedures, which may shed light on what these documents usually contain. The

   testimony elicited from these witnesses may indeed support an inference that a reasonable juror

   could find that the missing pen roster and prisoner pedigree form would have supported Ms.

   Martinez’s allegations, and Ms. Martinez is free to raise this motion again prior to or during the

   charge conference. Until then, however, her motion is denied without prejudice.

           Regardless of whether the Court includes an adverse inference instruction in its jury

   charge, Ms. Martinez is nonetheless free to inform the jury that the City searched for but was

   unable to locate these documents after she filed her lawsuit, as this fact is undisputed. And she is

   free to argue to the jury about the inferences she believes the jury should draw from the fact that

   these documents cannot be located or what they would have contained—just as Defendants’

   counsel is free to argue the converse (i.e., that the loss of these documents was inadvertent,

   because they would have supported the officers’ account and the NYPD had every incentive to

   preserve them).

           The parties are directed to confer on the most efficient way for the jury to receive

   information about the City’s inability to locate these two documents, and to so advise the Court

   prior to trial.



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      5. Defendants’ Motion to Redact the Date on Captain Hanrahan’s Command-Level
         Investigative Report of Plaintiff’s Alleged Assault

          Defendants move to redact a date printed on a command-level report completed by

   Captain Matthew Hanrahan (“the Hanrahan Report”) in May 2015. In this report, Captain

   Hanrahan, now deceased, summarizes interviews that he allegedly conducted with Ms. Martinez

   and Defendants Camhi and Ryan shortly after Ms. Martinez’s alleged assault. The content of the

   interviews support Defendants’ claim that Ms. Martinez suffered injuries from repeatedly

   punching a wall while in detention. Ms. Martinez avers that her interview never took place, and

   that the report—in which Captain Hanrahan wrote that he interviewed Defendants Camhi and

   Ryan about Ms. Martinez’s injuries on January 17, 2015, six days before Ms. Martinez was ever

   taken into custody—is evidence of an effort by the NYPD to cover up defendants’ misconduct.

   Defendants respond that the date is clearly a typo, and they support their contention by pointing

   to another, unrelated report with the same date and case number that Captain Hanrahan allegedly

   used as a template in this matter. Defendants also argue that because Judge Kovner dismissed

   Ms. Martinez’s denial of access claim in her summary judgment order—a claim which Ms.

   Martinez stylized in her briefs as a “cover-up”—any evidence that is offered solely to support

   allegations of a departmental cover-up is no longer relevant to this action.

          The parties clarified at oral argument that they both may seek to admit portions of the

   Hanrahan Report itself into evidence, that they do not consider the report itself to be inadmissible

   hearsay, and the only current point of disagreement is whether the date must be redacted. For the

   reasons outlined below, Defendants’ motion to redact the date is DENIED.

          Evidence is relevant if it tends to make a fact in dispute more or less likely than it would

   otherwise be. Fed. R. Evid. 401. While it is true that Ms. Martinez’s denial of access claim was

   dismissed in Judge Kovner’s summary judgment order, a piece of evidence that supports


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   multiple claims remains relevant even if one of those claims is dismissed. Here, Ms. Martinez

   alleges that the interview that Captain Hanrahan allegedly conducted—in which he reports that

   Ms. Martinez “made no allegations against any member of the service in regard to” her

   injuries—never took place. To support this assertion, Ms. Martinez points to the fact that

   Captain Hanrahan’s alleged interviews with Defendants Ryan and Camhi are listed in his written

   report as having predated her detention by approximately six days. If the jury believes Ms.

   Martinez’s account, then this aspect of the report is clearly relevant under the low threshold of

   Rule 401, since it is evidence that a jury could rely upon to conclude that Ms. Martinez never

   made statements to Captain Hanrahan denying any assault took place (i.e., that it finds this aspect

   of her testimony to be credible). Cf. Crane v. Kentucky, 476 U.S. 683, 689 (1986) (concluding

   that even though the court had previously denied defendant’s motion to suppress, evidence that

   the defendant’s confession was coerced remained admissible since “the manner in which the

   confession was obtained casts doubt on its credibility”).

          The jury, of course, might not credit Ms. Martinez’s allegations about Captain

   Hanrahan’s report. This Court considers Defendants’ explanation for the incorrect date—that

   Captain Hanrahan’s simply used a previous report as a template, as evidenced not only by the

   same date, but also the same case number, on both reports—to be not only plausible, but highly

   reasonable. 5 But it is not the only conclusion a reasonable jury could draw. Thus, this is a

   disputed fact to be decided by the jury, not the Court.



          5
            Judge Pollak, in her opinion recommending the sanction of default judgment for
   Defendants’ discovery violations, regarded the discrepancy in Captain Hanrahan’s report with
   suspicion: “[T]he report indicates that these officers were interviewed on January 17, 2015—six
   days before plaintiff’s arrest.” Martinez, 2018 WL 604019, at *15 (emphasis in original).
   However, Judge Pollak did not have the opportunity to hear Defendants’ explanation for Captain
   Hanrahan’s mistake, since defense counsel explained that he only discovered Captain
   Hanrahan’s template report after the sanctions ruling.
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          Although the Court recognizes that Captain Hanrahan is now deceased and is therefore

   unavailable to explain the error himself, Defendants will be permitted to lay the foundation for

   their proffered explanation by introducing into evidence the dated template report (properly

   redacted to protect the privacy interests of any detainee or officer described in that report) that

   Captain Hanrahan allegedly used to memorialize his interviews with Ms. Martinez and

   Defendants Ryan and Camhi. The Court is unpersuaded by Defendants’ argument that

   introduction of this template into evidence, which provides a simple explanation for Captain

   Hanrahan’s error, would “substantially and materially confuse the jury.” ECF No. 212, at 14.

          As such, Defendants’ motion is denied. The parties shall confer to discuss the most

   efficient way for Defendants to introduce the other report by Captain Hanrahan bearing the same

   date and case number into evidence and to provide the jury with the City’s explanation for the

   date error given Captain Hanrahan’s unavailability.

      6. Defendants’ Motion to Preclude Sergeant DiGennaro’s Memo Books and Evidence
         That Officers Undercounted the Drugs Recovered From Plaintiff’s Apartment

          Defendants move to preclude (1) Defendant DiGennaro’s memo book concerning the

   search of Ms. Martinez’s apartment, and (2) evidence that Officer Ryan may have undercounted

   the amount of heroin recovered at Ms. Martinez’s apartment on the night of her arrest. For the

   reasons described below, Defendants’ motions to preclude this evidence are GRANTED.

          First, Ms. Martinez argues that the memo books that memorialize the search of her

   apartment contain “probative inaccuracies and omissions.” ECF No. 217, at 5. Although the

   Court recognizes that this evidence could be relevant to an unlawful search claim, Judge Kovner

   dismissed that claim in her summary judgment order. Because Ms. Martinez has failed to

   demonstrate that the information in these memo books is relevant to any of her remaining claims,

   the evidence is inadmissible. See Fed. R. Evid. 402 (“Irrelevant evidence is not admissible.”).

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          Second, Ms. Martinez seeks to introduce evidence that the officers who searched her

   apartment inaccurately reported the number of envelopes of heroin that they recovered. As a

   threshold matter, the parties disagree over the magnitude of the undercount, though it apparently

   ranges from one to five envelopes (with the total number of envelopes initially reported by

   defendants Ryan and DiGennaro on their post-arrest paperwork at 285, and the actual number

   being either 286 or 290). Regardless, the Court fails to see how this evidence remains relevant in

   light of Judge Kovner’s decision granting summary judgment to Defendants on Ms. Martinez’s

   unlawful search claim. Moreover, since a jury that hears this fact may speculate that this

   undercount indicates that the officers engaged in some sort of tampering with the envelopes of

   heroin, rather than inadvertently miscounting them, introduction of this evidence would risk

   unfair prejudice.

          Defendants’ motions are therefore granted. Both parties are free to introduce evidence

   that the police recovered “heroin” during a search of Ms. Martinez’s apartment, while her

   boyfriend was present and while she was at work. The parties agree that this evidence provides

   context to the jury regarding the circumstances of Ms. Martinez’s arrest and detention. In light

   of this ruling, Plaintiff shall inform the Court whether she still has no objection to having the jury

   be told the reported amount of heroin (285 glassine envelopes) recovered from the apartment. If

   she does not so consent, then Defendants shall not give or elicit any testimony regarding the

   quantity of heroin recovered, either as to a specific amount or an approximation.

      7. Defendants’ Motion to Instruct the Jury that the Search of Plaintiff’s Apartment
         and Her Subsequent Arrest Were “Lawful”

          Defendants move that the jury be instructed that the search of Ms. Martinez’s apartment

   and her subsequent arrest were “lawful.” Ms. Martinez agrees that, to focus the jury’s inquiry,

   the Court should instruct the jury that the circumstances of her apartment search and arrest are

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   not at issue, but she contends that characterizing the search and arrest as “lawful” would be

   misleadingly favorable to Defendants, particularly since she was not charged with any crime.

   Because the scope and wording of this instruction will depend on the evidence adduced at trial,

   the Court shall RESERVE JUDGMENT on this motion until the charge conference.

      8. Plaintiff’s Motion to Preclude Evidence of Her February 2019 Altercation With Her
         Neighbor and Subsequent Arrest

          Ms. Martinez moves to preclude the Defendants from referencing a 2019 incident in

   which Ms. Martinez got into an altercation with a neighbor, resulting in the arrest of both Ms.

   Martinez and her neighbor (but in which neither was ultimately convicted of any crime).

   Specifically, Defendants seek to offer evidence, which they derived from police body-camera

   footage, which they contend provides a basis to ask Ms. Martinez about allegations that she

   struck her neighbor a during this February 2019 dispute and that, when she was arrested, she

   failed to inform the officers who handcuffed her or the medical personnel at the hospital where

   she was taken that she suffered from hand pain.

          Defendants assert that this evidence is relevant to Ms. Martinez’s alleged damages, since

   it tends to undercut Ms. Martinez’s claims that her hand injury was serious at the time, especially

   since, on the date of the incident, she was scheduled to have hand surgery two weeks later.

   Defendants assert that the evidence is also relevant to Ms. Martinez’s credibility for the same

   reasons. Ms. Martinez counters Defendants’ version of events underlying this dispute and

   asserts that any questioning about this incident and its aftermath is “wholly irrelevant and

   severely prejudicial.” ECF No. 219, at 7. For the reasons outlined below, Ms. Martinez’s

   motion to preclude this evidence is GRANTED IN PART.

          As a threshold matter, the probative value of this incident to the jury’s assessment of

   damages is, at best, limited. The Court has reviewed the police body camera footage of Ms.

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   Martinez’s arrest and her extended interview with police officers before she was cuffed. In the

   video, the officers informed Ms. Martinez that, because she and her neighbor had made cross-

   allegations of assault, both would be taken into custody. As they cuffed her, she remained still

   and calmly complied with their instructions; nothing suggests that the handcuffs were too tight or

   had more than incidental contact with her wrists. The video also shows a dispute of fact as to the

   nature of this alleged altercation with her neighbor that preceded the police officers’ arrival: Ms.

   Martinez stated to the officers that the altercation began because she had threatened to call the

   police on two neighbors who refused to cease smoking marijuana in the building’s hallway; that

   they then attacked her, at which point she used her cell phone (which was already in her hand) to

   protect her face and body in self-defense. She also repeatedly told police that two neighbors

   could corroborate her claim that she acted in self-defense, but it appears that the officers did not

   interview these third-party witnesses before taking both Ms. Martinez and her neighbor into

   custody, where they could (according to the officers) “talk to the judge.”

          This context suggests that this evidence does not strongly support Defendants’ claim that

   Ms. Martinez is exaggerating the scope of her hand injury. However, the threshold for relevance

   under Rule 401 is low—to be relevant, a piece of evidence must simply have “any tendency” to

   support or undercut a fact in dispute. The Court therefore agrees with Defendants that evidence

   of Ms. Martinez’s dispute with her neighbor and the circumstances of her subsequent arrest tend

   to at least somewhat undercut Ms. Martinez’s assertion that her hand pain has been significant

   since her alleged assault in 2015. While Ms. Martinez may argue that she struck her neighbor in

   self-defense and that she did not do so forcefully, Defendants offer a different factual account

   supported by statements from Ms. Martinez’s neighbor, and it is not appropriate for the Court, in




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   its relevance analysis, to weigh one party’s version of events against the other’s. 6 As such, the

   Court is unpersuaded by Ms. Martinez’s argument that evidence of this incident is “wholly

   irrelevant.” 7

           The Court does agree with Ms. Martinez, however, that the probative value of this

   evidence is substantially outweighed by a risk of unfair prejudice. To undercut Ms. Martinez’s

   claims of hand pain, Defendants seek to introduce evidence that Ms. Martinez got into a heated

   fight with a neighbor that led to her arrest, and may seek to show the jury the video of her being

   cuffed by police (or at the very least, cross-examine her about the fact that she did not inform

   police officers at any time that her wrist was injured prior to or while she was handcuffed). The

   prejudicial impact of images, or even a narrative description, of Ms. Martinez being placed into

   handcuffs is obvious—and unfairly so, particularly since she was not convicted of any crime. It

   also poses a risk that jurors would draw an improper propensity inference that Ms. Martinez is a

   violent or out-of-control person—in an action in which Defendants claim that Ms. Martinez

   punched a wall while she was in detention. Because the risk of unfair prejudice to Ms. Martinez

   substantially outweighs this evidence’s probative value, Rule 403 requires its preclusion.




           6
             While the statements of Ms. Martinez’s neighbor are likely hearsay, the Court is not
   itself bound by the rules of evidence when deciding a preliminary question of admissibility. See
   Fed. R. Evid. 104(a).
           7
             Defendants also argue that evidence of this incident is relevant to Ms. Martinez’s
   credibility. The Court agrees, but only insofar as all substantive evidence which undercuts an
   opposing party’s claims also undercuts the party’s credibility. Evidence of Ms. Martinez’s
   altercation with her neighbor and subsequent arrest would be inadmissible as pure impeachment
   evidence, since the incident did not lead to a conviction, see Fed. R. Evid. 609, and it is not a
   prior bad act that bears on Ms. Martinez’s character for truthfulness. See Hartman v. Snelders,
   04-cv-1784, 2010 WL 11626508, at *13 (E.D.N.Y. Jan. 28, 2010) (“Having reviewed the record,
   the Court exercises its broad discretion under Rules 403 and 608 to exclude each prior arrest
   listed above. . . . [T]he Court finds that arrests for assault . . . do not concern plaintiff’s character
   for truthfulness or untruthfulness.”) (quotation marks omitted)).
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          Notwithstanding the foregoing, Defendants remain free to offer into evidence Ms.

   Martinez’s medical records (properly redacted), and to cross-examine Plaintiff about her physical

   condition and statements to medical providers when she was admitted to the hospital the day

   after this altercation. However, they must do so without referencing the precluded evidence

   (including any mention of an arrest, handcuffs, or a “fight” or “altercation” with her

   neighbor(s)).

      9. Plaintiff’s Motion to Preclude Evidence About Her Fortune Society Records

          Ms. Martinez moves to preclude Defendants from introducing evidence about statements

   Ms. Martinez made to counselors at the Fortune Society, a re-entry program for formerly

   incarcerated people. 8 Because the information in these records may be relevant to Ms.

   Martinez’s claim of damages, her motion to preclude this evidence is DENIED IN PART.

   Defendants may cross-examine Ms. Martinez on the relevant evidence in this report but may

   only say that Ms. Martinez made these statements to a “social worker” or a “counselor.”

   Defendants may not reference “The Fortune Society,” since a juror who knows that this

   organization helps incarcerated and formerly incarcerated people may draw a prejudicial

   inference about Ms. Martinez from this fact. Defendants may also not ask Ms. Martinez about

   any arrests referenced in these records.

      10. Defendants’ Motion to Preclude or Limit the Testimony of Expert Witness Doctor
          Mark McMahon

          Defendants move to preclude or limit the testimony of Ms. Martinez’s expert witness Dr.

   Mark McMahon because he failed to supplement his 2017 expert report to account for the




          8
             The Fortune Society, Mission, (Nov. 17, 2022, 6:00pm),
   https://fortunesociety.org/mission-statement.
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   treatment that Ms. Martinez has received since she filed her complaint, as well as other evidence

   developed since that time that relates to her claimed damages. At oral argument, Ms. Martinez

   clarified that Dr. McMahon has not received any information about Plaintiff’s condition nor

   examined her since his submitted his report, and that she would limit Dr. McMahon’s testimony

   to opinions formed and information received by him on or before the date of his report (February

   3, 2017). Defendants agreed to this limitation. As such, Defendants’ motion to preclude Dr.

   McMahon’s testimony is DENIED AS MOOT, and Defendants’ motion to limit Dr. McMahon’s

   testimony is GRANTED AS UNOPPOSED. Notwithstanding the foregoing, Defendants may, of

   course, cross-examine Dr. McMahon about the limited time frame and information on which his

   opinions are based.

      11. Plaintiff’s Motion to Exclude a Nominal Damages Instruction from the Jury Charge

          Ms. Martinez argues that the Court should not instruct the jury on nominal damages

   since, on the facts presented, it would be impossible for the jury to find for Ms. Martinez on the

   question of liability but conclude that she suffered no compensatory damages. See Kerman v.

   City of New York, 374 F.3d 93, 124 (2d Cir. 2004) (“[W]here the jury has found a constitutional

   violation and there is no genuine dispute that the violation resulted in some injury to the plaintiff,

   the plaintiff is entitled to an award of compensatory damages as a matter of law.”). Defendants

   oppose this motion and intend to introduce evidence to suggest that Ms. Martinez’s injuries were

   de minimis and that, even if the jury finds that Defendants did use excessive force, it could also

   find that her injuries came primarily or exclusively from other sources.

          Because the strength of Ms. Martinez’s motion will depend on the evidence presented at

   trial, the Court shall RESERVE JUDGMENT on this matter until the charge conference.




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       12. Defendants’ Motion to Preclude Plaintiff from Seeking Economic Damages

           Defendants move to preclude Ms. Martinez from seeking economic damages because she

   failed to provide computations of those damages in her initial disclosures and did not properly

   supplement her disclosures thereafter. Ms. Martinez argues in response that Defendants have

   been on notice since 2018 that she intended to seek economic damages and that she provided

   Defendants with a computation of her economic damages, along with supporting documentation,

   during a settlement conference and by letter. For the reasons outlined below, Defendants’

   motion to preclude is DENIED.

           A plaintiff, in her initial discovery disclosures, must provide the other parties with “a

   computation of each category of damages claimed” along with evidence to support those

   calculations. Fed. R. Civ. P. 26(a)(1)(A)(iii). The purpose of this rule is to “avoid surprise or

   trial by ambush,” see Lopez v. City of New York, 11-cv-2607, 2012 WL 2250713, at *1,

   (E.D.N.Y. June 15, 2012), and a party who made a Rule 26(a) disclosure has a duty to

   supplement or correct it in a timely manner if it is incomplete or incorrect. Fed. R. Civ. P.

   26(e)(1)(A). Preclusion, however, is a “drastic remedy,” Mikulec v. Town of Cheektowaga, 302

   F.R.D. 25, 29 (W.D.N.Y. 2014) (citation omitted), and a party that fails to discharge its Rule

   26(a) obligations in a timely way may nonetheless present the underlying information at trial if it

   satisfies its burden of showing that its failure to disclose “was substantially justified or is

   harmless” to its adversary. Fed. R. Civ. P. 37(c)(1); Atkins v. Cnty. of Orange, 372 F. Supp. 2d

   377, 395-96 (S.D.N.Y.2005).

           At oral argument, Defendants conceded that, in light of the parties’ 2018 settlement

   conference in which Ms. Martinez provided Defendants with a computation of her economic

   damages and the parties’ subsequent discussion of economic damages by letter, they have at this



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   point suffered no prejudice from Ms. Martinez’s initial failure to disclose. As such, the Court

   finds that Ms. Martinez has satisfied her burden of demonstrating that her initial discovery

   failure is harmless, and the Court declines to impose the drastic remedy of preclusion.

      13. Defendants’ Motion to Preclude Plaintiff from Introducing the NYPD Patrol Guide
          and Student Guide

          Defendants move to preclude any reference to the NYPD Patrol or Student Guides.

   Defendants argue that because NYPD guidelines do not establish constitutional standards, they

   are irrelevant to Ms. Martinez’s § 1983 claims. Ms. Martinez counters that police guidelines are

   relevant to the jury’s inquiry of what a reasonable officer would do under the circumstances

   presented, which is an element of a § 1983 claim. For the reasons outlined below, Defendants’

   motion to preclude this evidence is GRANTED IN PART and DENIED IN PART.

          Police guidelines, including patrol guides, can be relevant to the jury’s inquiry into

   whether an officer violated a party’s constitutional rights. Brown v. City of New York, 798 F.3d

   94, 101 n.11 (2d Cir. 2015) (concluding that the patrol guide was relevant to the jury’s excessive

   force inquiry); Smith v. City of New York, 12-cv-4922, 2015 WL 4643125, at *3 (S.D.N.Y. 2015)

   (“The Patrol Guide has frequently been accepted as evidence of the standard of care to be

   exercised by a police officer.”). Although patrol guides alone “do not establish constitutional

   standards,” Dasrath v. City of New York, 15-cv-766, 2018 WL 10501877, at *3 n.10 (E.D.N.Y.

   Sept. 25, 2018), courts in this Circuit regularly admit sections of NYPD patrol guides in § 1983

   cases to aid the jury in its determination of whether an officer’s actions were reasonable. See,

   e.g., Tardif v. City of New York, 13-cv-4056, 2017 WL 3634612, at *6 (S.D.N.Y. Aug. 23, 2017)

   (finding, in an action alleging officers’ deliberate indifference to arrestee’s medical needs, that

   “[w]hether the officers violated the NYPD Patrol Guide remains a significant factor to be

   considered in ultimately determining whether the officers’ actions that day were reasonable”).

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   As with any evidence, however, the sections of the guidelines that are admitted must be relevant

   to a disputed fact, and their probative value cannot be substantially outweighed by a risk of

   unfair prejudice. See, e.g., McLeod v. Llano, 17-cv-6062, 2021 WL 1669732, at *4-5 (E.D.N.Y.

   April 28, 2021) (declining to categorically preclude a patrol guide in a § 1983 excessive force

   case but excluding the portions that Plaintiff sought to admit as irrelevant and likely to confuse

   the jury). Because of the risk that the jury will give undue weight to the patrol guide or student

   guide, courts may include a limiting instruction to the jury that no one piece of evidence is

   dispositive when deciding whether an officer acted reasonably. See, e.g., Gogol v. City of New

   York, 15-cv-5703, 2018 WL 4616047, at *5 (S.D.N.Y. Sept. 26, 2018) (“The use of [the NYPD

   Patrol Guide], however, is still subject to relevancy considerations, and may require a limiting

   jury instruction.”).

           Ms. Martinez seeks to introduce two sections of the NYPD Student Guide concerning

   police protocol regarding (1) effectuating a search and (2) providing Miranda warnings. The

   Court concludes that neither of these portions of the NYPD Student Guide are admissible. First,

   because Ms. Martinez’s unlawful search claim was dismissed in Judge Kovner’s summary

   judgment order, the portion of the NYPD Student Guide concerning search protocols is not

   relevant to any of Ms. Martinez’s remaining claims. Second, the portion if the NYPD Student

   Guide entitled “CUSTODIAL INTERROGATION” is largely duplicative of a similar section in

   the NYPD Patrol Guide. The Court concludes that it is appropriate to exclude this duplicative

   evidence under Rule 403 to avoid the jury giving undue weight to evidence of Defendants’

   alleged Miranda violations (the admissibility of which is analyzed more thoroughly below).

           However, the Court concludes that the sections of the NYPD Patrol Guide that Ms.

   Martinez seeks to admit—all of which concern processing an arrestee, providing medical care,



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   documenting a detainee’s injuries, addressing an “unusual occurrence,” or interrogating detained

   persons—are relevant to the jury’s inquiry into how a reasonable officer would have behaved

   over the course of Ms. Martinez’s alleged interrogation and assault. While the Court agrees with

   Defendants that local police practices do not themselves establish constitutional standards, the

   NYPD patrol guide is certainly relevant to a § 1983 action under the law of this Circuit, and any

   risk that the jury will give the NYPD Patrol Guide undue weight can be tempered by a limiting

   instruction informing the jury that no one piece of evidence, including the NYPD Patrol Guide,

   is dispositive of Ms. Martinez’s claims. The parties may submit proposed instruction(s) on this

   issue in their requests to charge.

      14. Defendants’ Motion to or Limit the Testimony of Expert Witness Joseph Pollini on
          Police Practices

          Defendants seek to preclude or limit the testimony of expert witness Joseph Pollini, a

   retired police lieutenant who served the NYPD for 33 years. Defendants argue that much of Mr.

   Pollini’s testimony, as evidenced by his expert report, concerns claims that Judge Kovner

   dismissed in her summary judgment order and, as such, is irrelevant. Defendants further argue

   that Mr. Pollini’s testimony regarding a lack of documentation of Ms. Martinez’s injuries, his

   opinions on ultimate issues, and his factual summary of what occurred on the night of the alleged

   assault will invade the province of the jury, since these are findings of fact and otherwise fall

   within the scope of a juror’s ordinary knowledge.

          Plaintiff acknowledges that while some of Mr. Pollini’s report would be inadmissible if

   read out as testimony, Mr. Pollini’s expertise on police practices, including documentation

   practices, will be helpful to a lay jury that is unfamiliar with police protocols, and his factual

   summary of Ms. Martinez’s alleged assault is supported by the record. For the reasons outlined

   below, Defendants’ motion is GRANTED IN PART and DENIED IN PART.

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          A party may introduce expert testimony to help the jury understand matters that fall

   outside a layperson’s ordinary scope of knowledge. See United States v. Mejia, 545 F.3d 179,

   194 (2d Cir. 2008) (“Testimony is properly characterized as ‘expert’ only if it concerns matters

   that the average juror is not capable of understanding on his or her own.”). With exceptions not

   relevant here, experts are not precluded from testifying to ultimate issues. See Fed. R. Evid.

   704(a). However, as with all evidence, such testimony must be relevant and helpful to the jury,

   and a party cannot introduce an expert simply to “tell the jury what result to reach.” Callahan v.

   Wilson, 863 F.3d 144, 153 (2d Cir. 2017); see also Fed. R. Evid. 704 notes of advisory

   committee on proposed rules (“The abolition of the ultimate issue rule does not lower the bars so

   as to admit all opinions. Under Rules 701 and 702, opinions must be helpful to the trier of fact,

   and Rule 403 provides for exclusion of evidence which wastes time. These provisions afford

   ample assurances against the admission of opinions which would merely tell the jury what result

   to reach . . . .”). Furthermore, although a party may not “present an expert to the jury solely for

   the purpose of constructing a factual narrative based upon record evidence. . . . [e]xpert

   testimony is . . . admissible where it ‘synthesizes’ or ‘summarizes’ data in a manner that

   ‘streamlines the presentation of that data to the jury, saving the jury time and avoiding

   unnecessary confusion.’” Scott v. Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 45 (S.D.N.Y.

   2016) (alteration and citation omitted).

          The Court concludes that Mr. Pollini’s planned testimony, as evidenced by his report, is

   partially admissible and partially inadmissible. First, Mr. Pollini prepared his report prior to

   Judge Kovner’s summary judgment order, and Plaintiff confirmed at oral argument that she does

   not plan on eliciting testimony from Mr. Pollini that relates solely to her dismissed claims. This

   portion of Defendants’ motion to preclude is therefore granted as unopposed.



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          Second, Mr. Pollini’s anticipated testimony on ultimate issues, while not categorically

   barred under Rule 704, would not be helpful to the jury. Some statements in Ms. Pollini’s

   report—such as “[t]here is no question that[] Ms. Martinez was severely assaulted and battered

   and subjected to unreasonable force[] while she was in police custody[] at the 107[th] Precinct”

   (ECF No. 211, Exhibit T, at 19)— inappropriately invade the jury’s fact-finding province. As

   such, Mr. Pollini is precluded from offering this kind of testimony.

          Third, Mr. Pollini may not testify to police practices with respect to the use of excessive

   force. While such testimony can be helpful to the jury in other excessive force actions—for

   instance, where the parties agree that an officer used certain kinds of force but disagree over

   whether the force was reasonable—here, no party disagrees that if Ms. Martinez was indeed

   assaulted while handcuffed in the police precinct in the manner that she claims, this use of force

   would be excessive. Expert testimony on that issue here is thus unnecessary. As such, Ms.

   Martinez is precluded from eliciting such testimony from Mr. Pollini about police standards on

   excessive force for the purpose of establishing Defendants’ liability.

          Defendants’ remaining motions to preclude Mr. Pollini’s testimony are denied. Expert

   testimony concerning standard police practice regarding how and when officers should provide

   medical treatment to injured detainees, the duty to intervene if and when fellow officers commit

   an assault, and police documentation procedures regarding injured detainees may help jurors

   understand specialized matters that fall beyond the scope of their ordinary knowledge. For that

   reason, the Court is unpersuaded by Defendants’ argument that Mr. Pollini’s testimony on police

   practices would be “unhelpful and unnecessary.” ECF No. 212, at 30. The Court is particularly

   unpersuaded by Defendants’ assertion at oral argument that Ms. Martinez does not need to

   present an expert in police practices because she can simply cross-examine the defendant officers



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   about what they will explain to the jury is standard practice. Under Defendants’ reasoning, a

   § 1983 plaintiff would never be able to offer a police practices expert to testify against defendant

   officers, because the officers themselves could simply recite what they maintain the standard

   procedures are, and the plaintiff could cross-examine them. However, it is precisely because the

   officers are interested parties that a plaintiff in Ms. Martinez’s situation must be permitted to

   introduce an independent expert—who, as with any expert, can also be cross-examined about the

   fee they have been paid or any other potential basis for bias.

          Defendants’ motion to preclude Mr. Pollini from providing a factual summary as the

   basis for his opinions is also denied. While Mr. Pollini may not testify to what he personally

   believed happened during Ms. Martinez’s assault, he can briefly summarize the parties’ differing

   factual accounts, which he has reviewed and relied upon. He may also offer his opinions as to

   whether Defendants complied with standard police protocols under either scenario so that the

   jury may better evaluate whether Ms. Martinez’s constitutional rights were violated. For

   example, Mr. Pollini may summarize the deposition testimony and statements of the Defendant

   officers regarding Ms. Martinez’s allegedly self-inflicted injuries, explain to the jury what

   protocols officers who witness or learn about a detainee self-harming would be expected to

   follow, and offer his opinion as to whether those protocols were or were not complied with in

   this case. Similarly, Mr. Pollini may summarize Ms. Martinez’s account of how she was

   physically assaulted and threated by two officers while handcuffed and inform the jury of the

   steps that, in his opinion, an officer who witnessed such conduct would be expected to take in

   response.




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       15. Defendants’ Motion to Preclude Evidence That They Failed to Advise Plaintiff of
           Her Miranda Rights While She Was in Custody

           Defendants move to preclude Ms. Martinez from introducing evidence that the defendant

   officers failed to advise Ms. Martinez of her Miranda rights while she was in custody at the

   107th precinct. It is undisputed that none of the officers administered Miranda warnings to her.

   At issue is the relevance, if any, of that fact to the issues at trial.

           Defendants argue that Vega v. Tekoh, 142 S. Ct. 2095 (2022), in which the Supreme

   Court recently held that a Miranda violation cannot by itself sustain a claim under § 1983,

   cautions this Court against the admission of any evidence that defendants may have committed a

   Miranda violation in Ms. Martinez’s § 1983 action. See id. at 2099. Defendants also assert that

   introduction of this evidence carries a risk of severe prejudice, since the jury may look

   unfavorably on Defendants and be less likely to hear the other evidence at trial objectively solely

   because Ms. Martinez was not “read her rights.” ECF No. 218, at 4. Ms. Martinez counters that

   the officers’ failure to Mirandize her is relevant to her claim that Defendants assaulted her in

   retaliation when she failed to tell them where her boyfriend, Danny Rivera, acquired his heroin,

   and that any prejudicial effect can be tempered through a limiting instruction. For the reasons

   outlined below, Defendants’ motion is DENIED.

           A party’s Miranda rights attach once she is subject to a custodial interrogation. Illinois v.

   Perkins, 496 U.S. 292, 296 (1990). While routine booking information does not constitute an

   interrogation, see Pennsylvania v. Muniz, 496 U.S. 582, 600-02 (1990), an officer does engage in

   interrogation when he asks questions or makes statements to a detainee that are “reasonably

   likely to elicit an incriminating response,” Rhode Island v. Innis, 446 U.S. 291, 301 (1980),

   including if the officer tells a detainee that she will benefit from cooperation with law

   enforcement. United States v. Montana, 958 F.2d 516, 518 (2d Cir. 1992); Campaneria v. Reid,


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   891 F.2d 1014, 1021 (2d Cir. 1989) (officer’s statement that “[i]f you want to talk to us, now is

   the time to do it” was relevant to the Court’s inquiry into whether officers honored defendant’s

   invocation of his right to remain silent).

          In a § 1983 action, whether or not a party was subject to a custodial arrest such that her

   Miranda rights attached can be a question of fact for the jury. Boyd v. City of New York, 336

   F.3d 72, 77-78 (2d Cir. 2003) (concluding that summary judgment of plaintiff’s malicious

   prosecution claim was inappropriate because whether plaintiff had been arrested before or after

   making an incriminating statement, and thus whether his Miranda rights had attached by that

   time, was a question of fact to be decided by the jury); Kogut v. Cnty. of Nassau, 06-cv-6695,

   2012 WL 3704710, at *1 (E.D.N.Y. Aug. 27, 2012) (evidence of alleged Miranda violation by

   defendant officers was relevant to plaintiff’s § 1983 claim that the defendants framed him for a

   murder he did not commit, a properly-pled claim on which defendants were not entitled to

   qualified immunity). The Supreme Court recently concluded in Vega that a Miranda violation,

   on its own, does not support a redressable claim under § 1983, and courts in this Circuit have

   already applied Vega for that principle. See, e.g., Stevens v. Village of Red Hook, 20-cv-8152,

   2022 WL 11970629, at *8 (S.D.N.Y. Oct. 20, 2022); Price v. Peress, 18-cv-4393, 2022 WL

   4638148, at *14 (E.D.N.Y. Sept. 30, 2022).

          It does not follow from Vega, however, that Miranda violations—much less the factual

   circumstances surrounding a defendant officer’s failure to provide Miranda warnings—are

   necessarily irrelevant to a plaintiff’s other § 1983 claims. As a general matter, a fact can be

   relevant to an issue in dispute even if, on its own, the fact does not give rise to liability. See Fed.

   R. Evid. 401.




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          The Court concludes that evidence of Defendants’ failure to Mirandize Ms. Martinez

   while she was in custody is relevant and admissible. Plaintiff’s theory of her case is that

   Defendants assaulted her during an interrogation when she told them that she did not know

   where her boyfriend purchased his drugs. Plaintiff plans to support this allegation not only

   through her own testimony but also apparently by eliciting testimony from Danny Rivera, who

   was in custody at the 107th Precinct at the same time as Ms. Martinez, that he heard Defendants

   promise Ms. Martinez that she would be released if she cooperated with them. Cf. Montana, 958

   F.2d at 518. While it is true that Ms. Martinez’s Miranda rights attached only if she was indeed

   questioned or interrogated, and Defendants contend that they did not do so here, Ms. Martinez

   has raised sufficient evidence from which a jury could credit Ms. Martinez’s account and

   conclude that she was, in fact, repeatedly asked about her knowledge of her boyfriend’s illegal

   activity, and that she should have been read her Miranda rights. See Fed. R. Evid. 104(b)

   (“When the relevance of evidence depends on whether a fact exists, proof must be introduced

   sufficient to support a finding that the fact does exist.”); cf. Boyd, 336 F.3d at 77-78. Indeed, a

   jury could make such a finding not only from Ms. Martinez and Mr. Rivera’s anticipated

   testimony, but from at least one of the defendant officers’. In each of his depositions, defendant

   DiGennaro denied “questioning” Ms. Martinez (maintaining that she refused to speak with him),

   but his description of his standard custodial “interview” practice certainly provides evidence

   from which a jury could find that he intended to, and did, make statements and ask questions

   designed to elicit incriminating information from her. See ECF No. 224, Exhibit B (DiGennaro

   Deposition, Sept. 9, 2017), at 7 (“I’m the one that goes into [the interrogation room] with the bag

   of M&Ms and the bag of potato chips and some water. And it’s like, you know, I know your

   boyfriend’s an asshole. He just got you arrested. What else can you do? What else do you



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   know?” (emphasis supplied)); ECF No. 224, Exhibit B (DiGennaro Deposition, Feb. 28, 2019),

   at 13 (“I’m going to get [a detainee] used to answering questions . . . and I will say listen, there is

   a chance of helping yourself . . . whatever I can do to help you, any information you have in

   regards to shootings or homicides, I can help you out.” (emphasis supplied)).

          Evidence that Defendants failed to Mirandize Ms. Martinez under these circumstances

   constitutes evidence that a jury could rely upon to credit Ms. Martinez’s claims that Defendants

   subjected her to a psychologically and physically coercive environment on the night of her

   alleged assault in an attempt to acquire incriminating information. Defendants’ alleged refusal to

   provide Plaintiff with an attorney when she asked for one is probative of the same. Furthermore,

   Defendants’ explanation for their failure to Mirandize Ms. Martinez is also relevant to the jury’s

   inquiry into which party’s account of Ms. Martinez’s detention and injuries is more credible,

   since a reasonable juror could conclude from the evidence presented that Defendants’ primary

   reason for taking Ms. Martinez into custody was to acquire information from her, which may

   lead the jury to disbelieve Defendants’ claims that they failed to “question” her and that they

   honored her alleged refusal to speak with them.

          The Court recognizes Defendants’ concern that this evidence may be unfairly prejudicial,

   since lay jurors who have learned about Miranda warnings from TV shows may give undue

   weight to the question of whether or not Defendants “read [Plaintiff] her rights.” ECF No. 218,

   at 4. However, this risk of prejudice does not substantially outweigh the evidence’s probative

   value as it relates to the jury’s assessment of the officers’ and Ms. Martinez’s credibility, and to

   the overall narrative of what took place in the holding cell where she was injured. Out of an

   abundance of caution, however, the Court shall limit the potential prejudice from this evidence in

   two ways. First, while Ms. Martinez is free to cross-examine Defendants about their failure to



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   Mirandize her, including with reference to relevant portion of the NYPD patrol guide, 9 Ms.

   Martinez’s expert witness Pollini may not testify about this topic, as a jury is likely to give such

   testimony from a police practices expert undue weight, and it might confuse the jury into

   believing that whether Defendants violated Miranda is the primary factual or legal issue they are

   being asked to decide.

          Second, the Court will, if Defendants wish, provide two limiting instructions with respect

   to their alleged failure to Mirandize Ms. Martinez: once when the evidence is introduced during

   trial, and again before deliberations. Defendants may submit their suggested mid-trial jury

   instruction, if any, when they submit their proposed jury charge and voir dire questions.

      16. Defendants’ Motion to Preclude Plaintiff from Proposing a Specific Dollar Amount
          in Damages During Summation

          Defendants move to preclude Ms. Martinez from requesting a specific dollar amount

   from the jury. Defendants argue that such arguments at summation tend to inappropriately

   “anchor” the jury to a particular damages award. For the reasons outlined below, Defendants’

   motion is DENIED.

          The Second Circuit has “decline[d]” to “adopt a per se rule prohibiting counsel from

   suggesting a specific sum as to damages.” Lightfoot v. Union Carbide Corp., 110 F.3d 898, 912

   (2d Cir. 1997). Rather, a trial judge has discretion to either bar lawyers from mentioning specific

   amounts to the jury or impose “reasonable limitations, including cautionary jury instructions” as

   she sees fit. Id. Under this flexible approach, many judges in this Circuit have allowed counsel


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            The section upon which Plaintiff seeks to rely is short, and states merely that Miranda
   warnings are required before a detainee is “question[ed]” before reciting the substantive
   requirements of the warnings. Since the parties do not dispute that this is a threshold
   requirement of Miranda, but only whether the defendant officers actually engaged in such
   questioning here, this section of the guide is not prejudicial to Defendants, and arguably supports
   their position.
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   to recommend to the jury specific dollar amounts for all types of damages. See Edwards v. City

   of New York, 08-cv-2199, 2011 WL 2748665 (E.D.N.Y. July 13, 2011) (“Although the Second

   Circuit has stated in the context of monetary awards for pain and suffering that specifying target

   amounts for the jury to award is disfavored, [it] has also stated that [this matter] is best left to the

   discretion of the trial judge.” (quotation marks and citation omitted)); Hable v. Metro-North

   Commuter Railroad, 18-cv-1460, 2019 WL 4673564, at *6 (S.D.N.Y. Sept. 24, 2019) (“Here,

   given that the lack of a per se rule about the propriety of such suggestions, the Court sees no

   reason—at this juncture—to prohibit Plaintiff from presenting a suggested figure for past and

   future economic loss.”).

           On the facts of this case, this Court declines to preclude either party from recommending

   specific dollar amounts in their summations. To start, the jury will hear evidence of Ms.

   Martinez’s economic damages. While some courts have found otherwise, see, e.g., Ross, 2022

   WL 768196, at *7 (permitting plaintiff to request from the jury a specific dollar amount for his

   economic damages but not for his non-economic damages), this Court concludes that it would be

   an odd and potentially confusing result for the jury in this case to be given proposed awards for

   certain types of Ms. Martinez’s claimed damages but not for others. Second, while the Court

   appreciates Defendants’ concerns that Ms. Martinez’s lawyers might “anchor” the jury to a

   particular damages award, nothing prevents Defendants from suggesting to the jury a lower

   dollar amount should it find for Ms. Martinez on the question of liability. This is particularly

   appropriate here given that Defendants have indicated that even if the jury finds for Plaintiff on

   her excessive force or assault and battery claims, they intend to argue that Plaintiff’s wrist

   injuries were neither severe nor substantially caused by these officers’ actions. To further




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   mitigate the risk of prejudice, the Court will remind the jury in its instructions that any damages

   figure recommended by counsel is argument and not evidence.

      17. Defendants’ Motion to Require that Plaintiff Name Which Two Defendants She
          Believes Used Excessive Force Against Her

          Defendants move the Court to require Ms. Martinez to identify, prior to trial, which two

   of the four individual Defendants she believes used excessive force against her. Defendants

   argue that Ms. Martinez only alleges that two officers assaulted her on the night in question, yet

   she has brought claims of excessive force against four officers. Ms. Martinez counters that the

   Federal Rules of Civil Procedure permit pleading in the alternative and that personal

   involvement of any one officer in a § 1983 violation is a question of fact for the jury to decide.

   For the reasons outlined below, Defendants’ motion is DENIED.

          A plaintiff in a § 1983 action bears the burden of proving every element of a

   constitutional violation by a preponderance of the evidence, see Wallace v. Suffolk Cnty. Police

   Dept., 809 F. Supp. 2d 73, 80 (E.D.N.Y. 2011), including the “[p]ersonal involvement” of an

   individual defendant in the deprivation of the plaintiff’s constitutional rights. McKinnon v.

   Patterson, 568 F.2d 930, 934 (2d Cir. 1977). For that reason, pleadings in § 1983 actions can be

   deficient, and dismissed on Rule 12(b)(6) motions or motions for summary judgment, if a

   plaintiff engages in “group pleading” without stating facts that demonstrate how each defendant

   was involved in each claim. Myers v. Moore, 326 F.R.D. 50, 60 (S.D.N.Y. 2018). However, a

   party may plead multiple claims in the alternative, even if the claims are inconsistent with one

   another, see Fed. R. Civ. P. 8(d)(2), and if a plaintiff introduces evidence sufficient to show a

   defendant’s personal involvement in the deprivation of a plaintiff’s constitutional rights, that

   defendant’s personal involvement becomes a question of fact to be answered by the jury.

   Williams v. Smith, 781 F.2d 319, 323 (2d Cir. 1986) (concluding that there was sufficient

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   evidence of defendants’ personal involvement to deny summary judgment); Snead v. City of New

   York, 463 F. Supp. 3d 386, 400 (S.D.N.Y. 2020).

             Defendants’ motion in limine asking Ms. Martinez to narrow the scope of her excessive

   force claims in effect asks the Court to dismiss one of Ms. Martinez’s claims against two

   defendants altogether. Such a motion is simultaneously untimely and premature. Defendants

   could have raised this argument on summary judgment (i.e., arguing that the current record does

   not provide sufficient facts from which a reasonable jury could find, by a preponderance of the

   evidence, that some or all of the individual officer defendants used excessive force on Plaintiff),

   but they failed to do so. Defendants might still raise this argument on a motion for judgment as a

   matter of law, but that posture is not currently before the Court. As such, this motion must be

   denied.

             Defendants failed to move for summary judgment on any of Ms. Martinez’s excessive

   force claims. At oral argument, Defendants explained that they did not do so because they only

   learned that Ms. Martinez did not intend to narrow down her excessive force claims to two

   specific officers when they reviewed her summary judgment opposition papers. Defendants’

   account, however, does not explain why Defendants could not have sought leave of the Court to

   file supplemental briefing on this question at that time. Defendants have cited no authority—and

   this Court has found none—for the proposition that a trial court may effectively enter summary

   judgment on pending claims against two of four individual defendants at the start of trial, after

   their counsel failed to make that motion during pretrial proceedings.

             Even if the Court were to consider Defendants’ motion on the merits, however, it would

   be denied. Ms. Martinez has pled facts, supported by citations to admissible evidence, that each

   of Defendants Ryan, Camhi, DiGennaro, and Laliberte personally interacted with Ms. Martinez



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   over the course of her detention: Officer Ryan arrested Ms. Martinez and alleges that he

   “checked” on her seventeen times while she was detained, Lieutenant Camhi says he “restrained”

   Ms. Martinez, Sergeant DiGennaro said he “debriefed” Ms. Martinez, and Sergeant Laliberte

   was the station desk officer on the night of Ms. Martinez’s detention, which plaintiff alleges had

   at least a partial view into the room in which Ms. Martinez was held. See Martinez, 564 F. Supp.

   3d at 94. Thus, even if the Court concluded that Defendants’ motion to dismiss two of Ms.

   Martinez’s four claims was procedurally appropriate at this stage, Ms. Martinez is entitled to

   present evidence at trial that any two of the four individual Defendants could have been her

   alleged assailants, and the question of an officer’s personal involvement in the deprivation of a

   party’s constitutional rights is a question of fact for the jury, not the Court, to determine.

          Of course, Ms. Martinez bears the burden of proving by a preponderance of the evidence

   at trial that each Defendant officer was personally involved in the deprivation of one or more of

   her constitutional rights. As such, if Ms. Martinez can prove that she was assaulted by two

   officers on the night of her detention but does not present evidence sufficient for a jury to find,

   by a preponderance of the evidence, that either Defendants Ryan, Camhi, DiGennaro, and/or

   Laliberte used excessive force against her while she was in custody, the Court may grant a

   motion for judgment in the Defendant(s)’ favor under Rule 50(a) of the Federal Rules of Civil

   Procedure. Defendants thus are not without recourse to address potential deficiencies in Ms.

   Martinez’s evidentiary showing and can renew their motion during or at the close of trial.

   Further, at that juncture, this motion may be moot, if Plaintiff has by then specified which two

   officer defendants she believes are liable on her excessive force claim and does not seek to have

   the verdict sheet name the other two Defendants on this claim. At present, however, Defendants’

   motion is denied.



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       18. Plaintiff’s Motion to Preclude Evidence of Defendants’ Awards and
           Commendations

           Ms. Martinez moves to preclude Defendants from introducing evidence of their

   promotions, awards, and commendations. Because Defendants have averred that they have no

   intention of introducing such evidence, Ms. Martinez’s motion is DENIED AS MOOT.

       19. Plaintiff’s Motion to Prevent a Trial Bifurcation on the Question of Punitive
           Damages

           Ms. Martinez moves to prevent the Court from bifurcating the jury’s inquiry on the

   question of punitive damages from their inquiry on Defendants’ liability. Because Defendants

   have not moved to bifurcate the trial and the Court sees no reason to do so, Ms. Martinez’s

   motion is DENIED AS MOOT.

       20. Plaintiff’s Motion to Preclude Evidence About Plaintiff’s Disorderly Conduct Arrest

           Ms. Martinez moves to preclude Defendants from introducing evidence of her arrest for

   disorderly conduct 14 years prior to her alleged assault. Because Defendants have averred that

   they have no intention of introducing this evidence, Ms. Martinez’s motion is DENIED AS

   MOOT.

       21. Defendants’ Motion to Preclude Evidence About Danny Rivera’s Allegations of
           Defendants’ Misconduct

           Defendants move to preclude Danny Rivera from testifying about a CCRB and IAB

   investigation into the Defendant officers for stolen property and excessive force. Ms. Martinez

   asserts that she has no intention of eliciting this testimony, but that there is a risk that Mr. Rivera,

   who is a non-party to this action, may offer such testimony on his own. Defendants’ motion to

   preclude is therefore DENIED WITHOUT PREJUDICE, and Defendants may renew their

   objections if Mr. Rivera offers testimony irrelevant to the facts of this case.


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      22. Defendants’ Motion to Preclude Evidence About the Disciplinary Histories of
          Defendants and Other Officers

          Defendants seek to preclude Ms. Martinez from introducing evidence of Defendants’ past

   allegations of misconduct, including disciplinary histories and prior lawsuits. Defendants also

   seek to preclude evidence of non-party officer misconduct as well as references to terms that

   would suggest that police officers do not testify truthfully, such as “the blue wall of silence” and

   “testilying.” Because Ms. Martinez does not intend to introduce such evidence except with

   respect to Defendant Laliberte’s statements to investigators (analyzed above), Defendants’

   motion is DENIED AS MOOT.

          Relatedly, the Court inquired at argument whether the parties were aware if any of the

   named defendant officers had been the subject of adverse credibility findings by any court, or

   whether the Queens County District Attorney (who presently maintains a list of such findings)

   had any other such information that may be relevant to the jury’s assessment of any of the

   defendants’ credibility. 10 So that this Court may fully consider and rule upon any motions to

   exclude or admit such evidence (if it exists), counsel for the City agreed to inquire with the

   Queens County District Attorney’s office (“QCDA”) as to whether any of the four defendant

   officers were included in the QCDA’s internal database of such instances, and to disclose them

   to Plaintiff and so inform the Court prior to submission of the final Joint Pretrial Order.




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             In 2019, the Queens County District Attorney announced that her office had prepared
   and would maintain an internal list of “substantiated misconduct allegations, criminal matters,
   adverse credibility findings and civil lawsuits” related to NYPD officers, so that Assistant
   District Attorneys could more readily access that information and disclose it in litigation as may
   be required by law. See David Brand, Queens DA Releases List of Cops with Credibility Issues,
   QUEENS DAILY EAGLE (Nov. 27, 2019), https://queenseagle.com/all/queens-da-releases-list-of-
   cops-with-credibility-issues. The Queens County District Attorney has further announced that
   her office would update its internal database regularly as new findings are made or otherwise
   come to its attention. Id.
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      23. Defendants’ Motion to Preclude Plaintiff’s Treating Physicians from Testifying As
          Experts

          Defendants seek to prevent Ms. Martinez’s treating physicians from testifying as experts.

   Because Ms. Martinez clarified in her motion papers and at oral argument that she will only elicit

   testimony from these witnesses regarding assessments made and opinions formed during their

   personal treatment and examination of Ms. Martinez (including any medical records prepared by

   others that they actually reviewed in the course of their examination and treatment), Defendants’

   motion is DENIED AS MOOT.

      24. Additional Matters

          Plaintiff’s motion to allow Defendants’ Rule 36 admissions to be offered as evidence is

   GRANTED IN PART. At oral argument, the Court directed Plaintiff to review and narrow down

   her list of proposed admissions to those which (1) are relevant to her remaining claims, and (2)

   she does not anticipate she can readily present through testimony. Plaintiff shall do so and

   confer with counsel for the City in an effort to reach agreement as to the specific Rule 36

   admissions Plaintiff will offer and address Defendants’ objections as to the language used. The

   Court will resolve any remaining disputes at the final pretrial conference or at trial.

          The Court also granted (as unopposed) Ms. Martinez’s motion to use leading questions

   on her direct examination of the individual defendants. As for non-defendant police officer

   witnesses, Plaintiff clarified that she will call at most three such witnesses: (1) Paul Valerga, (2)

   Joseph Pontecorvo, and (3) Albert Trotter (who may be unavailable and outside the Court’s

   subpoena power as he currently resides in Arizona). The Court reserves decision on whether to

   grant Plaintiff’s motion to examine these witnesses with leading questions because they are

   “identified with an adverse party” under Rule 611(c)(2) of the Federal Rules of Evidence, until



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   Plaintiff determines which of these three witnesses (if any) she will call and specifies the

   grounds under which she believes each witness satisfies the criteria of Rule 611(c)(2).




          SO ORDERED.

                                                         /s/ Nina R. Morrison______________
                                                         NINA R. MORRISON
                                                         United States District Judge


          Dated: November 18, 2022
          Brooklyn, New York




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